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              IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION




UNITED STATES OF AMERICA,


V.                                             Case No.   CR517-2


AKEEM HOWARD,


                  Defendant,




UNITED STATES OF AMERICA,


                                               Case No.   CR517-3


SAMUEL CADE, ET AL,


                  Defendant,




                                 ORDER



       Carlton R. Bourne, counsel of record for the United Stat^ 'of
America in the above-styled cases, has moved for leave of:absence. :
                                                                          i'-j"
The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

       Counsel may be absent at the times requested. However, nothing
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shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and       trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



     SO ORDERED this               of August 2017.




                                 HONORABLE WILLIAM/T. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
